          Case 2:00-cr-02062-WFN       ECF No. 63       filed 02/11/22   PageID.166 Page 1 of 4



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   Eastern District of Washington
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 5                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WASHINGTON
 6

 7
     UNITED STATES OF AMERICA
 8
 9
                          Plaintiff,
                                                          Case No.: 2:00-CR-02062-WFN
10            v.
                                                          GOVERNMENT’S RESPONSE TO
11                                                        MOTION FOR EARLY
12 FORTINO PULIDO,                                        TERMINATION OF
                                                          SUPERVISED RELEASE
13
                          Defendant.
14

15

16            Plaintiff, United States of America, by and through Vanessa R. Waldref, United
17
     States Attorney for the Eastern District of Washington, and Todd M. Swensen,
18

19 Assistant United States Attorney for the Eastern District of Washington, submits the
20 following response to the Defendant’s Motion for Early Termination of Supervised

21
     Release. (ECF No. 197). Defendant is pro se.
22

23 //

24 //

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     //
26

27 Government’s Response to Motion to
   For Early Termination of Supervised
28 Release                                          1
29

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           I.     Factual Background
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 2         On April 18, 2000, an indictment charging the Defendant with distribution of
 3
     Controlled Substances and Aiding and Abetting, in violation of 21 U.S.C. § 841(a)(1)
 4
     and 18 U.S.C. § 2. (ECF No. 1).
 5

 6         On August 15, 2000, a superseding indictment was filed charging the Defendant
 7
     21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2, and 21 U.S.C. §857. (ECF No. 19).
 8
 9
           On January 17, 2001, the Defendant pled guilty to the superseding indictment.

10 (ECF No. 38). On March 7, 2002, the Defendant was sentenced to 20 years

11
     imprisonment to be followed by 10 years of supervised release. (ECF No. 56).
12

13
           On March 16, 2015, the Defendant asked this Court to reduce his sentence

14 (ECF No. 59), which was denied on April 22, 2015. (ECF No. 60).

15
           The Defendant was released from prison and began his current term of
16

17 supervised release on November 22, 2017.

18         II.    Legal Standard
19
           The Court is empowered to terminate a term of supervised release early “if it is
20

21 satisfied that such action is warranted by the conduct of the defendant released and in

22 the interest of justice.” 18 U.S.C. § 3583(e)(1). These expansive phrases “make clear

23
     that a district court enjoys discretion to consider a wide range of circumstances when
24

25 determining whether to grant early termination.” United States v. Emmett, 749 F.3d
26 817, 819 (9th Cir. 2014).

27 Government’s Response to Motion to
   For Early Termination of Supervised
28 Release                                     2
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           Here, the Defendant argues that he should be released early from supervised
 1

 2 release because he has complied with conditions of supervised release. The

 3
     government objects to the instant motion as Defendant failed to show the kind of
 4
     stability with regard to his work history which would warrant termination of his
 5

 6 supervised release condition. Although the government commends the fact that

 7
     Defendant has not committed any criminal offense since his release, the government is
 8
 9
     concerned that, since being released from prison on November 22, 2017

10 (approximately 4 years and 2 months ago), Defendant has not been able to keep steady

11
     employment. More specifically, Defendant has held six different jobs in the four
12

13
     years since his release, which demonstrates instability. While the Defendant has held

14 many different jobs since his release, he has not demonstrated any lost employment

15
     opportunities due to his status on supervised release. Certainly, the Defendant can
16

17 communicate with his assigned probation officer if such a need arises.

18         As such, based upon the factors outlined in 18 U.S.C. § 3553(a), the
19
     government respectfully recommends that the Defendant motion for early termination
20

21 be denied.

22
           Dated this 11th day of February, 2022.
23

24                                         Vanessa R. Waldref
                                           United States Attorney
25
                                           /s/ Todd M. Swensen
26                                         Todd M. Swensen
                                           Assistant United States Attorney
27 Government’s Response to Motion to
   For Early Termination of Supervised
28 Release                                     3
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      Case 2:00-cr-02062-WFN      ECF No. 63       filed 02/11/22   PageID.169 Page 4 of 4




 1         I hereby certify that on February 11, 2022, I electronically filed the foregoing
 2 with the Clerk of the Court using the CM/ECF System which will send notification of

 3 such filing to the following: Fortino Pulido (pro se)

 4

 5
                                            /s/ Todd M. Swensen
 6                                          Todd M. Swensen
                                            Assistant United States Attorney
 7                                          United States Attorney’s Office
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 8                                          Yakima, WA 98901
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27 Government’s Response to Motion to
   For Early Termination of Supervised
28 Release                                     4
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